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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA




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                                                )
In re: Oil Spill by the Oil Rig DEEPWATER       )       MDL Docket No. 2179
HORIZON in the Gulf of Mexico on April          )
20, 2010                                        )       Section: J
                                                )
This Document Relates to: No. 10-1497,          )       Judge Barbier
No. 10-1630                                     )       Mag. Judge Shushan
                                                )
                                                )
                                                )
                                                )

                     LOCAL RULE 37.1 CERTIFICATE OF COUNSEL


       Pursuant to Local Rule 37.1, counsel for Federal Defendants state that they have

conferred with both Plaintiffs’ Liaison Counsel and counsel for Plaintiffs in Case Nos. 10-1497

and 10-1630 on Federal Defendants’ motion for a protective order with respect to the omnibus

discovery request. Plaintiffs’ Liaison Counsel take no position on Federal Defendants’ motion,

but “confirm that it was not Plaintiff Liaison Counsel’s intention, in drafting and serving the

Initial Omnibus Discovery Requests, that responses to such requests would be furnished by any

officers or agents of the United States.” Plaintiffs in 10-1497 and 10-1630 oppose the protective

order. Counsel for Federal Defendants also conferred with counsel for the Defendant-

Intervenors in Case No. 10-1497, who do not oppose the protective order.



                                              IGNACIA S. MORENO
                                              Assistant Attorney General
                                              Environment and Natural Resources Division



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                                             /s/ Kristofor R. Swanson
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                                            Attorneys for Federal Defendant




                               CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Motion for Protective Order and
accompanying Memorandum in Support has been served on All Counsel by electronically
uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and
that the foregoing was electronically filed with the Clerk of Court of the United States District
Court for the Eastern District of Louisiana by using the CM/ECF System, which will send a
notice of electronic filing in accordance with the procedures established in MDL 2179, on this
15th day of November, 2010.


                                                    /s/ Kristofor R. Swanson
                                                    Kristofor R. Swanson



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